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                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

  JAMES E. SHELTON, individually and on               Case No.
  behalf of all others similarly situated,            2:24-CV-02140-WB


                         Plaintiff,                   JURY TRIAL DEMANDED
         v.

  DOT Compliance Services, LLC

  and

  Christian Perales
                         Defendants.

    BRIEF IN SUPPORT OF MOTION TO COMMENCE DISCOVERY TO OBTAIN
             RECORDS THAT IDENTIFY PUTATIVE CLASS MEMBERS

        The Plaintiff has brought this action under the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227, a federal statute enacted in response to widespread public outrage

about the proliferation of intrusive, nuisance telemarketing practices. (Am. Compl. ¶ 1); Mims v.

Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012). The lawsuit alleges that DOT Compliance

Services, LLC (“DOT”), and its owner, Christian Perales, commissioned illegal prerecorded calls

to Plaintiff and other putative class members without their consent. (Am. Compl. ¶ 2). DOT and

its owner at whose direction the calls were placed, and whose name appears on the account for

the telephone services used to place the calls, Christian Perales, nevertheless have failed to

respond to, plead, or otherwise defend this complaint. (Am. Compl. ¶ 39–41); (ECF No. 12).

Accordingly, their default was entered. (ECF No. 12). Plaintiff therefore moves this Honorable

Court for an order permitting him to commence discovery so that he may seek class certification

and ultimately a potential classwide judgment.
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                                    LAW AND ARGUMENT

       The Plaintiff is unable to move for a default judgment at this time as to the classwide

claims because the Plaintiff has not yet obtained classwide calling records to ascertain the

members of the putative class and has not moved for class certification under Rule 23, or given

appropriate notice to the class under Rule 23(c)(2), both of which are prerequisites to seeking a

classwide default judgment. Heinz v. Dubell Lumber Co., No. 19cv8778, 2020 WL 6938351, at

*8 (D.N.J. Nov. 25, 2020) (certifying default judgment class but denying default judgment

because “Plaintiff has not sent notice to the proposed class members, and therefore by entering a

default judgment, this Court would be binding persons whose rights are at issue without first

giving them proper notice”); Deluca v. Instadose Pharma Corp., No. 2:21-CV-675, 2023 WL

5489032, at *9 (E.D. Va. Aug. 24, 2023) (“Courts have broadly held that default judgment

cannot be entered in a class action until a Rule 23(c)(2) notice is issued.”).

       A plaintiff asserting a class action where the defendant has not appeared and is in default,

broadly speaking, has two options: either voluntarily dismiss the putative class claims without

prejudice and seek an individual default judgment, or seek and obtain class certification and

obtain a classwide default judgment upon giving proper notice to the certified class. See Davis v.

Hutchins, 321 F.3d 641, 648 (7th Cir. 2003). Class damages, even on a default judgment, cannot

be awarded if no class is certified, because it is axiomatic that classwide relief “cannot be

granted to a class before an order has been entered determining that class treatment is proper.”

Davis v. Romney, 490 F.2d 1360, 1366 (3d Cir. 1974).

       Here, Defendants used a third-party company, Commio, to send the prerecorded calls at

issue. Therefore, classwide calling records identifying who was called, and how many times, as

well as potential recordings of some or all of the calls may be within the possession of this third-




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party service provider. In addition, Commio may have ancillary records identifying, for example,

information for the individuals called, whether other putative class members were called as part

of a specific pre-recorded calling campaign, like Mr. Shelton, or alternatively, whether the calls

were manually dialed, such as in response to a customer inquiry. Through these records, the

Plaintiff may be able to ascertain the class, seek class certification, provide class notice and

ultimately seek a classwide judgment as opposed to an individual default judgment, potentially

the only avenue available to him now. Moreover, the records will allow this Court and counsel to

better analyze the scope of the calling conduct at issue here, together with the evidence available

to determine whether seeking class certification is feasible or warranted, consistent with Rule

11’s mandate.

       One of the only meaningful ways to identify putative class members in TCPA cases

where the defendants are in default and whether they have claims for violations thereunder is

through calling records. Because the Defendants are in default, the Plaintiff has not been able to

commence discovery because the Plaintiff has not yet had a 26(f) conference. However, a party

may seek discovery prior to this stage when authorized to do so by court order, as this Court has

already done in permitting the Plaintiff to seek discovery to identify the Defendants as an initial

matter. FED. R. CIV. P. 26(d)(1). And, because this matter is proceeding as a class action, there is

no other way to ascertain calling records, and thus potential class membership, absent discovery

from these third parties identifying calling records. Therefore, the Plaintiff requests an Order

from this Court where he will be permitted commence discovery in the normal course, including

for discovery could identify putative class members. Without such an order, this pertinent

information may never be obtained or become destroyed and a class may never be certified

because the class has not yet been able to be ascertained without the benefit of discovery.




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       Other courts have authorized classwide discovery for calling records under substantially

similar circumstances. For instance, the District of Maryland recently authorized classwide

discovery in the face of a default in order to allow the Plaintiff to obtain call records and seek

class certification in another TCPA case similar to the one here. Court stated, “In circumstances

such as those present here, where a plaintiff has filed a motion for a default judgment, but

discovery is necessary to resolve issues such as class certification and damages, courts routinely

permit the plaintiff to conduct limited discovery.” Cleveland v. Nextmarvel, Inc., No. CV TDC-

23-1918, 2024 WL 198212, at *4 (D. Md. Jan. 18, 2024). The Cleveland court cited to numerous

other decisions where Courts have held that discovery on class certification and damages could

proceed against a defendant in a TCPA case against whom a default had been entered. See, e.g.,

Ulery v. GQ Sols., LLC, No. 22-CV-01581-PAB, 2022 WL 17484665, at * 1-2 (D. Colo. Dec. 7,

2022) (holding in a TCPA case that discovery on class certification and damages could proceed

against a defendant against whom a default had been entered); Leo v. Classmoney.net, No. 18-

CV-80813. 2019 WL 238548, at *2 (S.D. Fla. Jan. 10, 2019) (same); Cranor v. Skyline Metrics,

LLC, No. 4:18-CV-00621-DGK, 2018 WL 11437828. at *1-2 (W.D. Mo. Dec. 14, 2018) (same).

       Even if the Plaintiff ultimately elects not to pursue class certification and instead seeks to

pursue an individual default judgment, the discovery he obtains will still be useful to proving the

Plaintiff’s claims at the default judgment stage. Courts have also permitted similar discovery in

proving plaintiffs’ individual claims at the default judgment stage as well. For example, in

Richardson v. Virtuoso Sourcing Grp., L.L.C., No. 8:15-CV-2198-T-17JSS, 2015 WL 12862517,

at *1 (M.D. Fla. Oct. 27, 2015), also cited in Plaintiff’s previous motion for discovery filed in an

effort to identify the Defendants, the Court granted leave to serve a subpoena on the plaintiff’s

telephone provider in order to ascertain the “‘precise number of illegal robo calls that Plaintiff




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received from Defendant’ in order to factually substantiate her allegations when she moves for

entry of final default judgment against Defendant.” What’s more, Courts have relied on third

party discovery of the type sought here in holding that such information was important in

determining whether to grant class certification. See, e.g., Eder v. Aspen Home Improvements

Inc., No. 8:20-CV-1306-JSS. 2020 WL 6870851 at *2 (M.D. Fla. Oct. 2, 2020). In allowing for

discovery, the aforementioned Courts have stated that it would be unjust to permit a defendant’s

failure to participate in the case to prevent a plaintiff from establishing the elements of class

certification. See id.

        Other courts have also authorized similar discovery in TCPA cases when the defendants

have appeared and done so without briefing from the defendants, entering an Order shortly after

the motion was filed, recognizing the importance of issuing such discovery on third party

telecommunications providers, who typically keep calling records on a temporary basis. See

Cooley v. First Data Merchant Services, LLC et. al., Civil Action No. 19-cv-1185, ECF No. 32

(N.D. Ga. July 8, 2019); Mey v. Interstate National Dealer Services, Inc., et al., Civil Action No

14-cv-01846, ECF. No. 23 (N.D. Ga. August 19, 2014); Abante Rooter and Plumbing, Inc. v.

Birch Communications, Inc. Civil Action No. 15-cv-03562, Dkt. No. 32 (N.D. Ga. 2016). In fact,

in the Abante, Mey and Cooley cases, a defendant had filed a motion to dismiss when the Order

was entered, but the respective courts permitted discovery to proceed, particularly because of the

ethereal nature of calling records here.

        The Plaintiff’s putative class is based off the fact that the TCPA claims are governed by

the four year federal statute of limitations in 28 U.S.C. §1658(a) (“Except as otherwise provided

by law, a civil action arising under an Act of Congress enacted after [December 1, 1990] may not

be commenced later than 4 years after the cause of action accrues"); See also Giovaniello v. ALM




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Media, LLC, 726 F.3d 106, 115 (2d Cir. 2013) (four-year statute of limitations applies to private

TCPA claims in federal court). Accordingly, the Plaintiff should be permitted to obtain at least 4

years’ worth of calling records and other similar documentation from the Defendants’ telephone

provider in an attempt to ascertain the class, move for class certification, and ultimately attempt

to secure a classwide default judgment. If the Plaintiff is not permitted to obtain such records, it

is unlikely that a class could ever be certified. For example, in Levitt v. Fax.com, No. 05-949,

2007 WL 3169078, at *2 (D. Md. May 25, 2007), the court denied class certification in a TCPA

fax case because “critical information regarding the identity of those who received the facsimile

transmissions” was not available. Likewise, in Pasco v. Protus IP Solutions, Inc., 826 F. Supp.

2d 825, 831 (D. Md. 2011), the court was compelled to grant the defendant’s motion for

summary judgment where Plaintiff were unable to obtain the “transmission data on which to

support their claims that [the defendant] sent them the unsolicited faxes at issue.”

       As a result, putative class plaintiffs in TCPA cases where the defendants have appeared,

often file similar, opposed motions to ensure that early discovery into records in the possession

of telecommunications companies occurs posthaste, and such requests are routinely granted,

even when opposed. See, e.g., Fitzhenry v. Career Education Corporation, et al., N.D. Ill., Civil

Action No. 14-cv-10172, ECF No. 101 (“The stay on discovery is modified for the limited

purpose of requiring Defendant to obtain and retain records of all outbound calls that were made

for purposes of generation of leads for education services.”); Dickson v. Direct Energy, Inc., et.

al., Civil Action No. 5:18-cv-00182-GJL (N.D. Ohio Order Entered May 21, 2018) (requiring

the Defendant to obtain calling records from their vendor).

       And, as outlined above, the requested relief is particularly necessary as the Defendants

have been served with the lawsuit, but have given no indication that they intend to participate.




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Accordingly, the only way to obtain relief for the class is through third-party production of class

calling records, seeking class certification, and obtaining a classwide default judgment. Counsel

for the Plaintiff has been unsuccessful in contacting DOT and Perales both before and after their

default, including by postal mail, which has not been returned to sender. As the Defendants have

not appeared and the commencement of discovery is uncertain, Plaintiff has no choice but to

seek this relief. Otherwise, Plaintiff will be hamstrung in his efforts to identify and preserve vital

evidence, which may be destroyed.

       WHEREFORE, the Plaintiff requests an Order from this Court where he will be

permitted to commence discovery in the normal course in this matter, including through serving

discovery on any third-party individual or entity that may have information that could identify

putative class members, for the ultimate purpose of seeking class certification and/or a classwide

or individual default judgment.


Dated: January 17, 2025

                                               PLAINTIFF,
                                               By his attorneys,


                                       /s/ Andrew Roman Perrong
                                       Andrew Roman Perrong, Esq.
                                       Perrong Law LLC
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                                 CERTIFICATE OF SERVICE

       I certify that I filed the foregoing via ECF on the below date.

I further certify that I mailed a copy of the foregoing to:


DOT COMPLIANCE SERVICES, LLC
AND CHRISTIAN PERALES
3232 TRUXILLO DR.
DALLAS, TX 75228
Tracking Number: 00310903331480001210


Dated: January 17, 2025

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